Case: 1:24-cv-04835 Document #: 28-3 Filed: 08/23/24 Page 1 of 2 PagelD #:149

Exhibit C
wz-
Case: i Document #: 28-3 Etled: 08/23/24 Page 2 of 2 Pa

elD #:150
T N =

eS
ql my
Pry Pec
ST ec
poeta al) PU Tne oon mre en | (Z) cS
eee eee eget od

rt
Perron L TT;
PEPRER Te eTR EIT alee}

[rember EL PELE IEE 2)
Err camer p bis any Conihaw i raha seatlaal
iT ety

SO atl eee te |

db Ct LE
| = Ch)
PERT Mi REPL [ee]

To

usu ano Ayyigeujeysns 10) UALS 48 <
He Jo Aqigeeaesy UBNne3 plim 5] sour ed pal Aq, 20 W132 uyeroud 908E-E5BUG JO *noujeos Bulco”
Ty 2agy aA ysl ano Jo KOOL SI USI 4NO JO %OOL jo. ‘aDUNOS |RANIEN, SpuBuiWioD:

UE
lo

“-ANAWNOUIANS 3HL uod aoop
: "NOA 4Od GOOD

a maa. .
a ~ bE EC
aU EIN Gab AN
i Oe
~ Ez ny ele
S Meta OEM Gata Na
a fod 2 Cod A= 1-7-1) >)
zn
Q ——
a YW COC
Ue OMI GaP

100

SBRBRRGERFSRRRFSH aN

Grain Direction
Horizontal

Boog ding FOnUOD FRIBIC Z-2POZL OS! “EX20VK]]

aah) dl ; its a : "3 a ay
zoo y ‘er II, «© " .
